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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

JERRY BROWN,
                                            *
               Plaintiff,
                                            *
v.
                                            *
MARYLAND DEPARTMENT OF                              CIVIL NO.: GLR-22-199
CORRECTIONS, et al.,                        *

               Defendants.                  *

*      *       *       *     *       *      *       *      *       *      *       *      *

                                 SUGGESTION OF DEATH

       The Maryland Department of Public Safety and Correctional Services, by its attorneys,

Anthony G. Brown, Attorney General of Maryland, and Sandra D. Lee, Assistant Attorney

General, hereby gives notice of the death of Plaintiff Jerry Brown. Upon information and belief,

Mr. Jerry Brown died during the pendency of this action, prior to the service of the Complaint on

the named Defendants, on April 17, 2022.

                                                    Respectfully submitted,

                                                    ANTHONY G. BROWN
                                                    Attorney General of Maryland

                                                                   /s/
                                                    SANDRA D. LEE
                                                    Assistant Attorney General
                                                    Federal Bar No. 27902

                                                    St. Paul Plaza - 19th Floor
                                                    200 St. Paul Place
                                                    Baltimore, Maryland 21202
                                                    slee@oag.state.md.us
                                                    (410) 576-6429 (Telephone)


Filed electronically on February 6, 2023
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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY on this 6th day of February 2023, that a copy of the foregoing

Suggestion of Death is being mailed, postage prepaid, within one business day to:

Ms. Bridgette Jackson1
Ms. Geralyn Brown
115 Amity St
Baltimore, Maryland 21223

Mr. Alexander Jackson2
2800 Callaway Ave.
Baltimore, Maryland 21215



                                                                   /s/
                                                    SANDRA D. LEE
                                                    Assistant Attorney General




       1 Undersigned counsel has reviewed the Department of Public Safety and Correctional
Services’ Mi-Case electronic database and proffers that it lists Bridgette Jackson as Plaintiff
Brown’s mother, and it lists Geralyn Brown, at the same address, as Plaintiff Brown’s sister.

        2 The Mi-Case electronic database lists Alexander Jackson as Plaintiff’s uncle and
emergency contact, and it lists Plaintiff’s home address as the same as Alexander Jackson’s
address. Undersigned counsel proffers that she called the telephone number listed as the telephone
number for Plaintiff’s emergency contact, Alexander Jackson, and spoke with an individual who
identified himself as Alexander Jackson, and that Mr. Jackson confirmed his mailing address and
stated that he is handling the affairs of his nephew, Plaintiff Jerry Brown.
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